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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             CASE NO1:15-cv-62113-Valle

  VROLET BOTTING, MELISSA BIEBER,
  for and on behalf of other employees similarly,

        Plaintiff,
  v.

  CINDY A. GOLDSTEIN, P.A.,

        Defendant.
  _____________________________

                      JOINT MOTION TO APPROVE SETTLEMENT
                        AND DISMISS CASE WITH PREJUDICE

        Pursuant to SD Fla. LR 7.1 and this Court’s Order [DE 59], the Parties

  jointly move this Court to approve the confidential Settlement Agreement entered

  into by the Parties on December 30, 2015 and dismiss this case with prejudice, and

  in support state:

               1. On October 7, 2015, Plaintiffs filed a complaint alleging Defendants

  violated the Fair Labor Standards Act (“FLSA”), as amended, 29 U.S.C. § 201-216

  and claiming unpaid overtime compensation, unjust enrichment and violation of the

  Florida Private-Sector Whistleblowers’ Act. [DE 1]

               2.      The parties jointly confirm that they had a bona fide dispute

  under the FLSA and that they are resolving this matter in order to avoid the cost

  and time of litigating the issues.   All parties have been represented by counsel

  throughout the litigation.

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                3.       The parties represent that this settlement reflects a reasonable

  compromise of a bona fide dispute over the provisions of the FLSA, as well as the

  Florida statutory and common law claims.

                4.       Aside from the named-Plaintiffs, Irene Carrasquillo joined in the

  suit, attended mediation, and resolved her issues with the benefit of representation

  of counsel for Plaintiffs.

                5.       Pursuant to the case law of this Circuit, judicial review and

  approval of a tentative FLSA settlement is necessary to give it final and binding

  effect. See Lynn’s Food Stores, Inc. v United States, etc. 679 F. 2d 1350, 1352-1353

  (11th Cir. 1982).       Accordingly, the Parties provide the Court with the three

  Settlement Agreements on this same date pursuant to DE 59.

                WHEREFORE the parties respectfully request dismissal, with

  prejudice, of this action upon approval by the Court and for the Court to retain

  jurisdiction in the case of breach, for 60 days from the date of dismissal.

                     Respectfully submitted this 11th day of January 2016.

  s/ Gina Cadogan                                  s/ Michael Gulisano
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                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 11th day of January 2016, that the
  foregoing document is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive
  electronically Notices of Electronic Filing.

                                         /s/ Gina Cadogan
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